     Case 4:19-cr-00080-RSB-CLR Document 125 Filed 11/09/20 Page 1 of 2




               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                    SAVANNAH DIVISION

UNITED STATES OF AMERICA,            )
                                     )
v.                                   )              CV419-080
                                     )
LEVI JOSEPH OURY,                    )
                                     )
              Defendant.             )

                                 ORDER

     Before the Court is E. Jay Abt’s, counsel of defendant, motion for

leave of absence. Doc. 124. The Court denied a prior motion by Abt in

which he requested 130 days of leave during the fourteen-month period of

November 2020 to the end of 2021 without explanation. Doc. 123 (denying

doc. 122). Abt’s new motion reduces his total request to 101 days and

provides a reason for each requested absence. See doc 124. Though

counsel has pared back his request, the number of days sought and the

total period of time covered remain excessive. Therefore, the motion is

GRANTED, IN PART, and DENIED, IN PART.

     Abt’s request for leave is GRANTED for the periods of November

23, 2020, through November 30, 2020; December 17, 2020, though

January 4, 2021; March 28, 2021 through March 30, 2021; and April 3,
    Case 4:19-cr-00080-RSB-CLR Document 125 Filed 11/09/20 Page 2 of 2




2021, through April 11, 2021. His request for leave for the period of

January 18, 2021, through January 29, 2021, is DENIED. The remainder

of his request is DENIED WITHOUT PREJUDICE to refile at a time

closer to the dates requested.

     SO ORDERED, this 9th day of November, 2020.



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                                  CHRISTOPHER
                                   CHHRISTTOPHER L. RAY      Y
                                  UNITED STATES
                                              STATE
                                                  T S MAGISTRATE
                                                        MAGISTR       JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
